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      IT IS ORDERED as set forth below:



      Date: March 13, 2019
                                                          _________________________________

                                                                     Sage M. Sigler
                                                              U.S. Bankruptcy Court Judge

  ________________________________________________________________


                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

 In re:                                           :      CASE NUMBER:
                                                  :
 IMAN EMANUEL DANIEL,                             :      17-63608-SMS
                                                  :
                         Debtor.                  :      CHAPTER 7
                                               _ :
 IMAN EMANUEL DANIEL,                             :
                                                  :
                          Movant,                 :      CONTESTED MATTER
 v.                                               :
                                                  :
 ENTERPRISE RENT-A-CAR,                           :
                                                  :
                          Respondent.             :
                                                _ :

              ORDER AND NOTICE OF SCHEDULED EVIDENTIARY HEARING

      1. An evidentiary hearing on Motion for Sanctions for Violation of the Automatic Stay, filed by

Debtor in the above-styled matter shall be held before the undersigned on May 9, 2019 at 9:30 am,

Room 1201, United States Courthouse, 75 Ted Turner Drive, Atlanta, GA 30303.

2. Counsel are hereby directed to exchange documents, including any exhibits parties intend to

      use at the hearing, on or before April 30, 2019.
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3. Counsel are hereby directed to mark all exhibits and provide the Courtroom Deputy Clerk

   with a list of said exhibits and two copies, separately collated and bound but not stapled,

   of all exhibits on or before May 6, 2019. If the exhibits are in excess of 500 pages, counsel

   shall contact the Courtroom Deputy Clerk to determine whether to submit the exhibits

   electronically instead of in hardcopy. The marked originals of all exhibits should be brought

   to the hearing. The parties shall also submit a separate, typed listing of each party’s objections

   to the exhibits of the other party. Any listed document to which an objection is not raised shall

   be deemed to have been stipulated as to authenticity by the parties, and such documents

   may be admitted at hearing without further proof of authenticity.

4. Counsel may submit proposed Findings of Fact and Conclusions of Law up until two

   business days before the hearing.

5. If the parties determine that, by reason of settlement or other good cause, the case should not

   go forward, which determination shall be subject to Court approval, counsel are directed to

   notify the Court immediately so that the time set aside for the instant hearing may be

   assigned to other litigants.

   The Clerk is directed to serve a copy of this Order upon Debtor, Debtor’s counsel,

Respondent, and the chapter 7 trustee.

                                     END OF DOCUMENT
